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EXHIBIT B
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To whom it may concern,

Where to begin? What father wants to find out that he has failed as a father in guiding and protecting his
son? But I did find out and now I will do everything in my power to help my son to get better and to rid
himself of the demons that were started when he was too young to defeat them on his own.

Zach’s mother and I met in Hawaii while stationed in the Navy together. Tracie had lost her dad at 17 and
joined the Navy to get away from home and start a new life. I had left bad habits and joined as well.

We met, fell in love, got married and returned to my hometown of Roanoke, Va. On April 13", 1983 we
welcomed the most wonderful gift, our son Zachary. Not long after, on March 19", 1985 we welcomed
our daughter, Ashleigh, into the world.

We were a typical family, and my wife did an amazing job as a stay at home mom. We loved those kids
with all our hearts and tried to do everything right. As life went on it seemed like we did. Zachary was
such and “old soul” and was kind to everyone. My wife and I ran a martial arts school together in the
evenings and Zachary started at a young age. When bullied, he always turned the other cheek and never
bullied or hurt anyone. He was such a sweet boy. He did well in school and participated in Marching
band, wrestling and other activities. He went on to college and ended up being the president of his
fraternity and getting his degree. After college I had a job opportunity that caused me to be away from our
martial arts school for a summer. Zach took over for me and worked with all our instructors teaching
youth and adult classes. In ALL Zachs years there was never a whiff of any improper thoughts or actions
by Zach. After this summer my wife encouraged him to apply for TSA and to get a clearance and he
would have great opportunities in the government. He was smart and a hard worker and transferred from a
job lugging suitcases in the basement of Duiles airport to a admin job in a federal air marshalls office. He
then was able to get noticed by higher ups and became the administrative assistant to the director, and
deputy director of the Federal Air Marshalls. His bosses rewarded his hard work and got him his dream
job, being an analyst for the Air Marshalls. He had met his wonderful wife while in college at Christopher
Newport university and they had built a nice life and home in northern Va. and all seemed right in the
world and with our family.

But like I said, it seemed like we did a good job, but obviously, my job as a father teaching his son about
healthy sexual habits was not done properly or we probably wouldn’t be in this current situation.

My wife, on the other hand, was a stellar mom and our daughter has been an elementary teacher for many
years and is now a wonderful mom to three beautiful children.

ask for mercy for my son Zachary, I truly believe that we can get him the help he needs. All our lives
have been changed forever and I am rededicating my life to repairing and healing our family. Thank you
for taking the time to read this letter.

Sincerely,

Christopher Ragone
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Zachary Franklin Ragone blessed this world April 13, 1983, at 6:30 pm, after 36 hours of labor.
Pretty precise | know, but I’m his mother and | brought this beautiful human being into this
world. He carries the middle name of his maternal grandfather, whom he never got to meet, but
which he heard of all though his life, and is a man of high standards to live up to. He carries the
last name of his dad and his grandfather Peter Joseph Ragone. A man Zach grew up with and
adored until his death at 94 two years ago, a godly man of quintessential integrity. So it is by no
means to go without understanding that | say to you, when | saw my son start to grow, the one
statement that always came out was “he’s such an old soul “. People use that term and you
wonder what it means. I'll tell you. Zachary is gentle and kind, he’s calm and caring, loving and
warm, trusting and honest, sincere and loyal. He’s been that way since a toddler. This is my
son: every summer we went to the neighborhood pool during the afternoons. He was 7, there
were a few boys 7-10 years of age, squirting everyone with water guns. They were doing it
meanly, not playful. Zach had a gun in our pool bag. | asked him if he wanted, to squirt them
back, he said “no, they might not like that, just like we don’t like it, and | don’t want to make
them sad”. I'll never forget it. Zachary played rec basketball, was in karate from 4 years old until
he moved away in his early 20’s. If anyone, | mean anyone, was hurt, he was the first one there.
Not that he had medical training, just to comfort. Never in the way if assistance was needed, but
always by that teammates side, reassuring, concerned, truly, from his little 7 year old soul to
now. Zachary is not fake, he’s genuine and true. That’s who he is, how he was raised and it’s
just is nature. Zachary was christened catholic at birth, had his first communion at 7. As my
father in law was a very, very devoted catholic. Zach said the blessing at meals, traditional basic
meal blessing. Zach had started attending a Baptist church every Sunday with his 2 best
buddies and their grandparents (who were raising them due to parents death) We weren’t to
sure how my father in law would take it, actually the true Christian man he was just said “I’m
glad he’s going to church “. The point of this is at about 10years old, We had thanksgiving at our
home for the first time, Zachary gave the blessing. It was beautiful. He talked about how each of
us were blessed, what a wonderful day it was to have everyone together. He spoke so lovingly
and true, at 10. My beautiful old soul son. He’s done all the blessings since every time he’s in.
That's Zach young all the way to now. He’s still and old soul and godly. His sister married 4
years ago and had Zachary officiate the wedding. Since | just mentioned a wedding, lets
mention Zachary and his Ashley’s wedding. This is the old soul and good human being he his.
In this day and age when people want big extravagant weddings, (and could have) they chose
to have a small intimate family wedding. Zachary is godfather to his Down syndrome cousin,
and he included her in the wedding. Zach found out what was “our song” for his in laws, us, and
his grandparents, and had that played that evening. At his wedding. That is my old soul son, my
Zachary who thinks of others.

As a mom you always see your children as your kids, as babies. | close my eyes and | see him
and his younger sister come home after school. She’s running far ahead already jabbering, he’s
just strolling, looking all around. Up at the sky, out at the trees, kicking a rock, just taking
everything in. My old soul. Now he’s a grown man who 8 years ago when | was diagnosed with
the most painful disease known to modern medicine has rallied around with the family. He found
a wife that cares as much as him about his mom. They read, research and study about CRPS.
They come to Roanoke to help me. 2 years ago | had to have a nuclear heart test. My husband
wasn’t in and my daughter was 8 1/2 months pregnant and couldn't be around the test. Zachary
got off work and drove right down to have me at the test at 7:00 am, never left my side. Sat with
me at home until we heard from the doctor. Really wasn’t any need for him to sit with me once |
was home. But my old soul son stayed with his mom until | got an “all clear’. | got an | love you
kiss and went back home. That’s the human being that came into the world April 13 1983 at
6:30 pm. An old soul.
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Zachary, Zach, “the favorite”, big teddy bear, my brother all are the names | would use to give a
positive name to him. Although, the words | would use to describe him would be kind, loyal,
trustworthy, brave, smart, strong, respectful, honest, selfless and loving. | could go on, but I'll
stop there and just elaborate. Zachary, his given name, the strong Presidential name as our
mom would describe, he is just that though - STRONG. Zachary is the momma’s boy that every
mom would ever dream of, | would know now having 2 boys of my own. He protects her, loves
her, sticks up for her, and cares for her like no other man I’ve ever seen. He cooks for her,
spends hours on the phone talking with her, sends her cards, and reminds her all the time that
she is the best mom. I’ve seen my brother mad one time in our lives, yes just once, and it was at
someone hurting my mom and he went straight into protection mode; his face got red, this deep
strong voice came out, and just with a few stern words the whole situation halted and my mom
was “rescued.” His mad isn’t even really mad, that's how gentle and sweet Zachary is. Our mom
has been diagnosed with an incurable horrific disease known as CRPS, this leaves her in a
constant state of pain all day every day, and Zachary has never fallen short of learning about
this disease, finding helpful tips, caring for our mom, and being there in crisis times through this
disease. He has always had my moms back and always will. A true momma’s boy and a man
any mom would be proud of.

Now Zach, in which most of his peers and friends would know him as, is a fun loving, jokester
with a little geek sprinkled in. Zach was the teenager who was in band, played card games on
the weekend with his friends, got good grades, and was loved my everyone. Every school has
their cliches, and our high school was no different, but yet Zach never was labeled into a certain
group, he never had one niche or clicky group per say, he had his close friends and was loyal to
them, but he got along with everyone. Even the biggest bully in school wouldn’t mess with Zach
or any other kid in Zach’s presence because he knew Zach would stick up for that kid and some
how even that bully didn’t want to disappoint Zach. Zach was the silent type of leader, he didn’t
have to say he liked this or that for others to like those things too, he just lived his life the way
he wanted and it was contagious. Everyone around him seemed just as kind and friendly and
welcoming. Those were the type of friends you wanted to have. | was two years behind Zach in
school, so when teachers got me as usual | was compared to Zach, and that was the best kind
of comparison. | definitely didn’t do as well as Zach academically, but he made me want to be
and strive everyday to be just as good. He was so smart, and is still.

“The favorite” | joke of course because no parents have a favorite kid, but that was my running
joke from little sprouts to adults. | say that he’s “the favorite” in the most positive light ever
because really isn’t that what we all want to be and think we are. He never got in trouble
growing up, and | mean never. The one time he probably could’ve really gotten in trouble, come
to realize | started it of course as little sisters do, and instead of ratting me out he was going to
take full responsibility. WOW! Even this eight year old boy was going to take all the heat even
after having a huge red hand print on his chest, but of course the evidence shined through and |
was the one to blame. He was never yelled at, scolded, or spanked growing up, meanwhile |
was spanked all the way up to my room, which was well deserved I’m sure from my sass. He
never got into any trouble or wrecked any cars or snuck out like typical teenagers will, he
respected my parents never talked back. He came home on time, went to church on Sunday’s,
and enjoyed just hanging at his friend’s house. Honestly he was “my favorite” too!

The big teddy bear not only comes from his big stature, but from his playfulness. He has the
fuzzy head from the short hair, the big pot belly from his gourmet style of cooking, and a deep
bear voice that just makes this name just so lovable. Uncle Zach the giant teddy bear is adored
by his niece and nephews. My children have 3 uncles local, and they still know their Uncle Zach
more. He is the fun, silly uncle that may only come in to town every few months, but makes a
big splash when he does. They love to play with him, be tossed around, and just curl up and
snuggle with him. And when he can’t make it in for an event there is a card sent early and a
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phone call to each one of them that day. He comes to Christmas morning to watch in enjoyment
of their excited and overjoyed faces. He helps Santa come alive for them each year. He’s been
chosen to be The Godfather to our middle child. The real life teddy bear that my children get to
call Uncle.

Lastly, my brother, the sweetest, most compassionate big brother a girl could wish for. My best
childhood memory of my brother was when | was about six years old and | had a nightmare,
most kids would flock to their parents room or yell out for help, but | just walked quietly next door
crawled in my brother bed, laid down, and before | could even tell him what happen he stroked
my hair and told me to think about the Little Mermaid. Now, to some they might not think this
was anything major, but to me | see two huge significant traits from this. First, he was not mad,
upset, or irritated that for one | woke him from his sleep and for two | had now taken over most
of his bed. Secondly, he knew me, he listened to me, and he cared enough about me to know

my favorite thing at that time, The Little Mermaid, and playing with my hair were my favorite
things ever. COMPASSION, that is the only word that comes to mind. Second best memory
comes from adulthood when | had my first real heart break. My brother was the first person |
called to tell. We were both in college at the time, | was obviously crushed, and needed to vent,
cry, and advice. He told me to make something of myself now, now the sky was the limit, no one
holding me down or back, and that college could be so fulfilling if | just enjoyed it. I'll never
forget that and it’s exactly what | did. | had admired that he always knew what he wanted to do
in life, strives for his goals and continuously obtaining them. | modeled him in that way. The last
best memory I'd like to share happened on one of the happiest days of my life, my wedding day.
Four years ago, sitting down with the love of my life and trying to decide who would stand up in
front of God and our family to marry us and lead us in our vows, there was no other choice other
than MY brother. He is a word-smith, biblical, knowledgeable, and had already modeled a great
marriage for me, so really there was no one else to compete. He found the most powerful and
sweetest quote that he read aloud to describe two best friends falling in love. And again, not
only was my brother the most selfless man in the room, but he had listened, he had paid
attention to my life, and it truly meant the world to me for him to marry us that day. My brother,
Zach, is the most caring, selfless, loving, helpful, trusting, honest man and | am so lucky to be is
sister.
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3605 Breckinridge Mill Rd Fincastle VA 24090 Oct. 14, 2018
To Whom it May Concern:

| have known Zachary Ragone (Zach) since he was a toddler. He was a cute, bounding tow head. Always
a friendly and sincere child, | can recall him going to preschool and | attended a program or two. He was
always a kind and good big brother to his baby sister Ashleigh. He was the apple of his parent’s eyes.

In grade school he was always a good student. He made friends easily and was invited to birthday
parties. He did well socially and academically and was always friendly to me and my family. | consider
him a friend. His mother Tracie and | have been best friends for over 34 years.

By middle and high school, he took Karate as both of his parents are black belts through the Kempo
system. The good character traits of Karate were part of Zach’s character. He participated and earned a
black belt as well. He was always a tremendous hit in the skits at the annual Christmas and awards
program. We looked so forward to watching him perform.

in high school he developed an interest in computer technology. | would ask him any question and he
had an answer. My family grew to four rambunctious children who overwhelmed many a baby sitter.
Zach Ragone babysat my wild bunch for two years anytime | needed him. They never overwhelmed him.
Each of my children thinks well of Zach. He was fun, yet did not let any situation get out of hand. My kids
are ages 21- 31 now. They love him, too for his part in their childhood.

He graduated from high school and went off to college, but we saw him just about every time he came
home. He is that type of person. People matter to him.

When he met his Ashley he was over the moon. She was his dream come true. One of the sweetest
weddings | ever attended was theirs. It was the culmination of a wonderful romance. Though we don’t
see each other as much, | still see him 3-4 times a year when they come to visit. His mother has a
chronic health problem now and he worries with the rest of us.

He loves his Ashley very much and is always attentive to her needs. He has become a wonderful cook
and we all love to enjoy the meals he prepares. He seems happy in his life and his career. | have a
terrific picture | took last Nov. at his mother’s birthday party. His sister had just given birth to her third
child and things were pretty busy with all the kids. Zach and his Ashley just sat so cute and in love
watching television and | took a photo of them.

1 do not know what has happened but | know everyone is very upset. | am upset, too. Please know, from
all | have seen of Zachary Ragone, he was a great kid who has grown into a good provider, a good
husband, a good worker and has always been a great son and friend. | would vouch for his character 24-
7. All of us are sinners that fall short of the Glory of God, but he forgives us. | believe in that principal.

if you would like to ask me questions, feel free to contact me. Phone is best. 540-793-0896. Email is

CatbelL8@aol.com.
Thank you,

Cathy Benson
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Michael D’Amico
PO Box 385006
Waikoloa, HI 96738
(808) 785-0768

kempomike@gmail.com

To whom it may concern,

1 am writing this letter to attest to the character of Zachary Ragone, whom I've known for almost 20
years. | am a fifth degree chief instructor in our martial arts association, and have been teaching
kempo-karate for approximately 15 years. I have also been a school teacher for over ten years.
After coming in contact with thousands of students and their family and parents, I would like to
think of myself as a decent judge of character, and I hope this letter provides some insight into
Zachary’s.

I know Zachary through our martial arts association, firstly as an instructor, then as a business
associate, and finally, someone who adopted me as a family member.

Zachary is a senior head instructor in our association, and when | first began my training, I had the
pleasure of having him as an instructor for several breakaway sessions at our yearly martial arts
seminar. He was a positive and encouraging teacher, and his jovial and approachable demeanor
made him easy to talk to and learn from. He was always specific when he pointed out what I did

well, and always gave me encouraging advice when I needed improvement.

When I moved from Hawaii to Virginia in 2006 pursue a degree in education, | transferred my
karate membership to Zachary’s father’s kempo-karate school, which has been in operation since
1983. After about 3 years, I was asked to take over Ragone’s Kempo Karate, and I was rewarded
with the opportunity to work with Zachary as he stepped in to help me when when his father
opened a full-time security and personal protection business. Learning various aspects of running a
business of this caliber was no small task, and with Zachary’s influence and guidance, we were able
to increase enrollment, and continue to develop a positive presence in the local community. As an
associate and co-manager, not only was Zachary business-savvy, but he immediately gained the
respect of his father’s adult students, as well as our youth and their parents. Zachary’s positive and
encouraging attitude, as well as his meticulous and thorough accounting taught me that working
with people is as equally important as running finances and managing inventory. After Zachary left
to pursue his career in Eastern Virginia, I was left with the confidence to continue to run Ragone’s
Kempo Karate for 8 more years until I moved back to Hawaii.
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Lastly, but most importantly, Zachary accepted me as a “hanai” brother when I moved to

Virginia. In Hawaii, family is the foundation of one’s identity, and the support system that can
always be counted on. When | moved from Hawaii, Zachary’s parents took me in, and he treated me
like a brother. Zachary was the family I needed. He helped me get used to local customs and subtle
nuances that were foreign to me, and taught me how to make friends in a new place and earn their
respect. I have seen him closely interact with his family and he was always supportive, loyal, and
kind. I have seen his interactions with his wife, Ashley, and he was a role-model for me and my
marriage as he was never malicious, always loving, positive with his words, and even solved

disagreements with his wife using reason, and being emotionally attentive.

If ] was asked to summarize what kind of person Zachary is, | would describe him as a loving,
devoted family member who has gained the trust and respect of others through his business
mindset, positive demeanor, and encouraging attitude. I truly hope that this letter has shed some
light on Zachary’s true character, and can provide some insight as to the positive morals and
standards by which he lives.

Sincerely,

Michael D’Amico
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To whom this may concern,

|, Beverly Sue Hart | am writing this letter on behalf of Zack Ragone.

As a teacher, | worked with him and my physical education classes at the elementary
level. He was always kind and respectful to me and all of his fellow students in the
classroom setting. Always a good role model and made good grades in the classroom.
As an adult, | knew Zach through my karate classes with him and others. He always
displayed respect and presented responsible actions with his behavior during our
training. Always kind and helpful to everyone as a student and instructor.

As life moves on so did | . Zach got married and moved out of the area and pursued a
career. During the summer, we would have gatherings at the lake and he would be
there with his wife. It was always good to see him and speak just to see how things
were going. Zack always had a smile on his face and spoke of positive statements to
made you feel welcome.

These are things that | will remember about Zach Ragone. Sincerely,

Beverly S Hart

Lead Teacher Elementary Physical Education Botetourt County Public Schools, Virginia
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From: Rod Smith <rbsmith35@gmail.com>
To: vasnobrdr <vasnobrdr@aol.com>
Subject: Zach
Date: Mon, Oct 15, 2018 6:05 pm

 

To Whom it may Concern,

| know Zach Ragone from my years training in Universal Kempo Karate. This is roughly from 1994 through
2008. During this time Zach went from middle school, through high school and on to complete a college
education. Through school he always kept part time and full time summer jobs and trained in Kempo. After
school! | believe he went to work for TSA and eventually relocated to northern Virginia.

Over the years | interacted weekly with Zach in our Kempo training sessions. | participated in public Kempo
demonstrations with him. | traveled with the Kempo group to annual seminars normally held in Las Vegas
which Zach always attended. | visited his family home over holidays and often spent time during the summer
with his family at the lake.

Zach was always a well-rounded and outgoing youth. | never knew him to give his parents any difficulties.
Zach was friends with many of his peers in the school. Zach demonstrated discipline, respect and integrity all
of which was required and taught by the Universal Kempo organization. In 2006, during the summer Zach,
organized and ran the Kempo training sessions when his father's time was limited because of his security
business. Zach was respected by all his fellow black belts for his determination, training and leadership traits
that he was developing.

Rod Smith
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